
The People of the State of New York, Respondent,
againstEfraim Sanchez, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Melissa A. Crane, J.), rendered August 2, 2013, convicting him, upon a plea of guilty, of criminal trespass in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Melissa A. Crane, J.), rendered August 2, 2013, reversed, on the law, accusatory instrument dismissed, and surcharge, if paid, remitted.
As the People concede, defendant's conviction must be vacated since the plea record lacks the requisite "affirmative showing" that defendant understood and waived his Boykin rights (see Boykin v Alabama, 395 US 238, 242 [1969]; People v Tyrell, 22 NY3d 359, 365 [2013]). The People also agree that dismissal of the accusatory instrument is the appropriate corrective action in this particular case (cf. People v Conceicao, 26 NY3d 375, 385 n 1 [2015]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 14, 2018










